             Case 5:18-cr-00258-EJD Document 1758 Filed 04/26/23 Page 1 of 2




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10

11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       )   DEFENDANT ELIZABETH A. HOLMES’
16                                           )   NOTICE OF AUTOMATIC STAY OF BUREAU
       v.                                    )   OF PRISONS REPORTING DATE
17                                           )
     ELIZABETH HOLMES and                    )   Hon. Edward J. Davila
18   RAMESH “SUNNY” BALWANI,                 )
                                             )
19          Defendants.                      )
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     NOTICE OF AUTOMATIC STAY
     CR-18-00258-EJD
             Case 5:18-cr-00258-EJD Document 1758 Filed 04/26/23 Page 2 of 2




 1         NOTICE OF AUTOMATIC STAY OF BUREAU OF PRISONS REPORTING DATE

 2          PLEASE TAKE NOTICE that Defendant Elizabeth A. Holmes’ Bureau of Prisons reporting date

 3 of April 27, 2023 has been automatically stayed by the United States Court of Appeals for the Ninth

 4 Circuit by operation of the Ninth Circuit Rules.

 5          Ninth Circuit Rule 9-1.2(e) states that “[i]f the appellant is on bail at the time the motion is filed

 6 in this Court, that bail will remain in effect until the Court rules on the motion.” “The operation of the

 7 rule … is automatic and provides an appellant, who is still released, whether on bond or on his or her

 8 own recognizance, with an automatic stay of surrender upon the filing in this court of a motion for bail

 9 pending appeal.” United States v. Fuentes, 946 F.2d 621, 622 (9th Cir. 1991); accord United States v.

10 Kakkar, No. 5:13-cr-00736-EJD, 2017 WL 4163291, at *1 (N.D. Cal. Sept. 20, 2017).

11          Ms. Holmes filed her motion for release pending appeal in the Ninth Circuit on April 25, 2023.

12 The motion and the electronic filing confirmation are attached. Ex. 1. Ms. Holmes was on bail at the

13 time the motion was filed. Therefore, that bail automatically remains in effect until the Ninth Circuit

14 has ruled on her motion. Counsel for Ms. Holmes has informed her Pretrial Services Officers of the

15 effect of Ninth Circuit Rule 9-1.2(e) and her appellate motion. Ex. 2. This notice is to ensure that all

16 interested governmental personnel are also informed through the ECF system.

17          Dated: April 26, 2023

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19                                                         /s/ Amy Mason Saharia
                                                           KEVIN DOWNEY
20                                                         LANCE WADE
                                                           AMY MASON SAHARIA
21                                                         KATHERINE TREFZ
                                                           Attorneys for Elizabeth Holmes
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28 NOTICE OF AUTOMATIC STAY
   CR-18-00258-EJD
